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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

    UNITED STATES OF AMERICA


    v.                                Case No. 8:13-cr-189-T-33TGW


    ABRAHAM GONZALEZ

    _____________________________/

                                    ORDER

          This matter comes before the Court upon consideration of

    Defendant Abraham Gonzalez’s Motion for Early Termination of

    Probation (Doc. # 424), filed on March 22, 2017. For the

    reasons below, the Motion is granted.

    Discussion

          On February 6, 2014, Defendant was sentenced to 37

    months’ imprisonment and a term of 24 months’ supervised

    release. (Doc. # 315). Subsequent thereto, upon Defendant’s

    motion, the sentence was reduced pursuant to Amendment 782 to

    30 months’ imprisonment; the term of supervised released

    remained unchanged. (Doc. ## 386-388). Defendant now moves

    for early termination of supervised release. (Doc. # 424).

          In his Motion, Defendant indicates that he began his

    term of supervised release on February 25, 2016. (Id.). He

    further indicates that “he has successfully completed all the
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    terms    and   conditions     of   his   probation     without     any

    violations,” has “worked part-time with Online Electric,” and

    has become a “state certified . . . master electrician.” (Id.

    at ¶¶ 2, 3).

          Notably, the probation officer assigned to supervise

    Defendant reported to the Court that she has no objection to

    the early termination of supervised release. The probation

    officer also verified Defendant’s representations regarding

    employment and avoidance of new arrests. The United States

    also does not oppose Defendant’s Motion. (Id. at ¶ 4).

          Therefore, having considered the foregoing, the Court

    hereby terminates Defendant’s term of supervised release

    effective as of the date of this Order.

          Accordingly, it is

          ORDERED, ADJUDGED, and DECREED:

          Defendant     Abraham    Gonzalez’s     Motion    for      Early

    Termination of Probation (Doc. # 424) is GRANTED. Defendant’s

    term of supervised release is hereby terminated effective as

    of the date of this Order.

          DONE and ORDERED in Chambers in Tampa, Florida, this

    23rd day of March, 2017.




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